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1

2                           UNITED STATES DISTRICT COURT
3                      FOR THE EASTERN DISTRICT OF CALIFORNIA
4

5     CALIFORNIA DAIRIES, INC.,                 1:08-CV-00790 OWW DLB
6                      Plaintiff,               MEMORANDUM DECISION GRANTING
                                                DEFENDANT‟S MOTION FOR
7
                  v.                            SUMMARY JUDGMENT (DOC. 64)
8
      RSUI INDEMNITY COMPANY,
9
                       Defendant.
10

11
                                    I. INTRODUCTION
12
           This case concerns a directors and officers liability
13
      insurance policy (“the Policy”) issued to Plaintiff, California
14
      Dairies, Inc. (“CDI”), by RSUI Indemnity Company (“RSUI”).            RSUI
15

16    denied coverage for claims asserted against CDI in a class action

17    filed in Tulare County Superior Court, Gonzalez v. CDI, Case No.

18    08-226450 (“Gonzalez” or the “Underlying Action”), in which
19    employees and former employees of CDI allege CDI violated various
20
      provisions of the California Labor Code (“CLC”) concerning wages,
21
      hours, and related matters.
22
           By letter dated March 3, 2008, RSUI initially denied
23
      coverage based upon Exclusions 1, 2 and 4 of the Policy.            Upon
24

25    the insured‟s request for reconsideration, RSUI narrowed its

26    grounds for denial to Exclusion 4.       Declaration of Phil Krajec,

27    Doc. 64-4, Ex. I.
28
                                           1
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1          CDI then filed this action seeking declaratory relief
2     regarding coverage under the Policy.       RSUI moved to dismiss,
3
      arguing, among other things, that Exclusions 4 and 7 barred
4
      coverage.   The initial complaint was dismissed with leave to
5
      amend.   Doc. 24, filed Mar. 20, 2009.         Plaintiffs filed a First
6
      Amended Complaint (“FAC”), adding some new allegations,
7

8     particularly pertaining to the issues of waiver and the

9     applicability of Exclusion 7.      Doc. 25, filed Apr. 9, 2009.

10    Defendants‟ renewed motion to dismiss the FAC was granted in part
11    and denied in part.     Doc. 36.   RSUI then moved for judgment on
12
      the pleadings, asserting that a waiver theory cannot create
13
      coverage “where none exists.”      Doc. 40 at 3.      That motion was
14
      denied on April 16, 2010.     Doc. 59.
15
           RSUI now moves for summary judgment on the ground that the
16

17    undisputed evidence demonstrates that it did not waive its right

18    to assert Exclusion 7.     Doc. 64-1.     In the alternative, RSUI
19    argues that it does not have a duty to indemnify CDI for any of
20
      the damages sought in the Gonzalez lawsuit because those damages
21
      do not constitute covered “Loss.”        Id.    Defendant filed a
22
      statement of undisputed fact (“DSUF”) and supporting
23
      declarations.     Doc. 64-2 - 64-4.      CDI opposed, Doc. 66, and
24

25    filed a response to Defendant‟s statement of facts, along with

26    its own statement of undisputed fact (“PSUF”), Doc. 67, and

27    supporting declarations, Docs. 68 & 69.         RSUI replied and filed
28
                                          2
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1     objections.    Docs. 72 & 73.    The motion came on for hearing in
2     Courtroom 3 (OWW) on June 14, 2010.
3

4                                 II. BACKGROUND

5     A.   The Underlying Gonzalez Lawsuit.

6          On January 4, 2008, Walter Gonzalez filed a class action

7     complaint against CDI in Tulare County Superior Court.          DSUF #3.

8     The Gonzalez Complaint alleges causes of action for:         1) failure
9     to pay minimum wage; 2) failure to pay regular and overtime
10
      wages; 3) failure to provide mandated meal periods or pay an
11
      additional hour of wages; 4) failure to provide mandated rest
12
      periods or pay an additional hour of wages; 5) failure to
13
      reimburse employees for costs incurred to acquire and/or maintain
14

15    company-required uniforms; 6) knowing and intentional failure to

16    comply with itemized wage statement provisions; and 7) failure to

17    timely pay wages due at termination.       Id.   The Gonzalez Complaint
18    also alleges that CDI violated California‟s Unfair Competition
19
      Law, Cal. Bus. Prof. Code § 17200, et seq., as a result of CDI‟s
20
      alleged violations of the CLC.      Id.   No violation of the federal
21
      Fair Labor Standards Act (“FLSA”) was alleged.        See id.
22

23
      B.   The Relevant Terms and Conditions of the Policy.
24
           CDI is the named Insured, as the “Insured Organization”
25
      under the Policy.    Krajec Decl., Doc. 64-4, Ex. A (“Policy”).
26
      Under the Policy‟s Insuring Agreement set forth at Section I(C),
27
      RSUI agrees:
28
                                          3
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1                With the Insured Organization that if a Claim for a
                 Wrongful Act is first made against the Insured
2                Organization during the Policy Period and reported in
                 accordance with SECTION V. – CONDITIONS, C. Notice of
3                Claim and Circumstance of this policy, the Insurer will
                 pay on behalf of the Insured Organization all Loss the
4                Insured Organization is legally obligated to pay.

5     See Policy at p. 32 of 44 (underlined text is bold in original).
6           The Policy does not contain a duty to defend, but instead
7
      contains a duty to reimburse defense costs.        Id. at p. 11 of 44
8
      (Advancement of Defense Expenses; Insurer Has No Duty to Defend).
9
            “Insured” is defined at Section III(G) of the Policy as “any
10
      Insured Organization and/or any Insured Person.”        Id. at p. 34 of
11

12    44.   “Insured Organization” is defined as “the organization named

13    in Item 1 of the Declarations Page....”       Id. (Section III(H)).

14    “Insured Person” is “any past, present or future director,
15    officer, trustee, Employee, volunteer, or any committee member of
16
      a duly constituted committee of the Insured Organization.”          Id.
17
      (Section III(I)).    “Employee” is defined as “any past, present or
18
      future employee of the Insured Organization....”        Id. (Section
19
      II(D)).   “Employment Practices Claim” is “any Claim alleging an
20
21    Employment Practices Wrongful Act.”       Id. at p. 33 of 44 (Section

22    II(E)).
23          An “Employment Practices Wrongful Act” is defined at Section
24
      II(F) of the Policy as any actual or alleged:
25
                 1.   Wrongful dismissal, discharge or termination
26               (either actual or constructive) of employment,
                 including breach of an implied employment contract;
27
                 2.   Employment related harassment (including but not
28               limited to sexual harassment);
                                       4
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1
                 3.   Employment-related discrimination (including but
2                not limited to discrimination based on age, gender,
                 race, color, national origin, religion, sexual
3                orientation or preference, pregnancy or disability);

4                4.    Employment-related retaliation;

5                5.   Employment-related misrepresentation to an
                 Employee or applicant for employment with the Insured
6                organization;

7                6.   Libel, slander, humiliation, defamation or
                 invasion of privacy (solely when employment related);
8
                 7.    Wrongful failure to promote;
9
                 8.   Wrongful deprivation of career opportunity,
10               wrongful demotion or negligent Employee evaluation,
                 including giving defamatory statements in connection
11               with an Employee reference;

12               9.    Employment related wrongful discipline;

13               10.   Failure to grant tenure or practice privileges;

14               11. Failure to provide or enforce adequate and
                 consistent organization policies or procedures relating
15               to employment;

16               12. Violations of the following federal laws (as
                 amended) including all regulations promulgated
17               thereunder: a. Family and Medical leave Act of 1993; b.
                 Americans with Disabilities Act of 1992 (ADA); c. Civil
18               Rights Act of 1991; d. Age Discrimination in Employment
                 Act of 1967 (ADEA), including the Older Workers Benefit
19               Protection Act of 1990; or e. Title VII of the Civil
                 Rights Law of 1964 (as amended) and 42 U.S.C. Section
20               1983, as well as the Pregnancy Discrimination Act of
                 1978;
21
                 13. Violation of an Insured Person's civil rights
22               relating to any of the above; or

23               14. Negligent hiring, retention, training or
                 supervision, infliction of emotional distress, failure
24               to provide or enforce adequate or consistent
                 organizational polices and procedures, or violation of
25               an individual's civil rights, when alleged in
                 conjunction with respect to any of the foregoing items
26               1 through 13.
27    Id.
28
                                          5
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1     C.   The Relevant Exclusions of the Policy.

2          The Policy also contains a number of specific exclusions.
3     The Policy provides that the Insurer shall not be liable to make
4
      any payment for “Loss” in connection with any “Claim” made
5
      against the “Insured”:
6
                 4. For violation of any of the responsibilities,
7                obligations or duties imposed by the Employees
                 Retirement Income Security Act of 1974, the Fair Labor
8                Standards Act (except the Equal Pay Act), the National
                 Labor Relations Act, the Worker Adjustment and
9                Retraining Notification Act, the Consolidated Omnibus
                 Budget Reconciliation Act, the Occupational Safety &
10               Health Act, any rules or regulations of any of the
                 foregoing promulgated thereunder, and amendments
11               thereto or any similar provision of federal, state or
                 local statutory law or common law; provided this
12               EXCLUSION shall not apply to Loss arising from a Claim
                 for employment related retaliation.
13
                                               ***
14
                 7. Brought by or on behalf of any Insured,
15               except:...(b) an Employment Practices Claim brought by
                 an Insured Person...”
16
      Id. at p. 35 of 44 (underlined words bolded in original; italic
17
      emphasis added).    The Policy defines “Loss” at Section II(K) as
18

19    follows:

20               Loss means damages (including back pay and front pay),
                 settlement, judgments (including pre- and post-judgment
21               interest on a covered judgment) and Defense Expenses.
                 Loss (other than Defense Expenses) shall not
22               include:... 5. Any amounts owed as wages to any
                 Employee, other than front pay or back pay; 6. Civil or
23               criminal fines or penalties.

24    Id. at p. 34 of 44 (underlined words bolded in original).           This

25    makes the insurance contract a “burning limits” policy.
26
27

28
                                          6
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1     D.   Tender of Claim and Response Thereto.

2          On January 9, 2008, CDI tendered the Gonzalez action to RSUI
3     pursuant to the Policy.       DSUF #6.    Phil Krajec, Vice-President of
4
      RSUI, was assigned to act on RSUI‟s behalf with respect to CDI‟s
5
      claim.     DSUF #7.   On January 14, 2008, Mr. Krajec‟s assistant,
6
      Frankie Olds, sent an acknowledgment of claim letter to CDI and
7
      its insurance broker, which stated “[n]othing stated by or on
8

9     behalf of RSUI Indemnity, or not stated, should be construed as a

10    limitation or waiver on any such rights, privileges or defenses.”

11    DSUF #9.
12         On March 3, 2008, RSUI denied coverage, asserting Exclusions
13
      1, 2, and 4.     DSUF #12.    RSUI did not assert Exclusion 7 as a
14
      basis to deny coverage at that time.         Id.   The March 3, 2008
15
      letter specifically indicated that it “is not intended to be an
16
      exhaustive list of all coverage questions which could affect this
17

18    claim and nothing contained in this letter nor any action taken

19    should be construed as an admission of coverage or waiver of any
20    right RSUI might have at law or under the policy.”         DSUF #13.
21
           On May 5, 2008, CDI requested that RSUI reconsider its
22
      denial of the claim.      DSUF #14.      In a May 14, 2008 letter, RSUI
23
      conceded that Exclusions 1 and 2 would not apply, absent a final
24
      and specific adjudication of certain conduct as against CDI.
25

26    DSUF #15.     RSUI continued to reply on Exclusion 4 to deny

27    coverage outright.      Id.   This second denial letter incorporated

28
                                            7
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1     “its denial of coverage” as set forth in the March 3, 2008 letter
2     and further indicated “[n]othing contained in this letter is
3
      intended to supersede, limit or eliminate any coverage defenses
4
      asserted in our previous coverage declination letter.”         DSUF #16.
5
              On June 6, 2008, CDI filed this declaratory relief action
6
      against RSUI.    DSUF #17.
7

8
      E.      March 20, 2009 Dismissal With Leave to Amend.
9
              On September 2, 2008, Defendant moved to dismiss the initial
10
      complaint, arguing, among other things, that Exclusion 7 barred
11
      coverage for the Gonzalez lawsuit.       DSUF #19; Doc. 10.
12
              A March 20, 2009 Decision concluded that Exclusion 4 bars
13

14    any claim based upon a CLC provision similar to those of the

15    FLSA.    Doc. 24 at 11-24.     RSUI‟s motion to dismiss was granted

16    without leave to amend as to the first (failure to pay plaintiffs
17    a minimum wage as required under CLC §§ 1197, 1194 and 1194.2),
18
      second (failure to pay regular and overtime wages in violation of
19
      CLC §§ 200, 204, 500, 510, 512, and 1194, and section 3 of
20
      Industrial Welfare Commission (“IWC”) Wage Order 8), third and
21

22    fourth (failure to provide meal and rest periods or pay an

23    additional hour of wages based on CLC §§ 226.7 and 512, and

24    Section 11 of IWC Wage Order 8) causes of action in the Gonzalez
25    complaint.     Id. at 25-35.   RSUI‟s motion to dismiss was denied as
26
      to the applicability of Exclusion 4 to the fifth (failure to
27
      reimburse employees for costs incurred to acquire and/or maintain
28
                                           8
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1     company-required uniforms in violation of CLC § 2802 and Section
2     9 of Wage Order 8), sixth (failure to comply with the itemized
3
      wage statement provisions contained in CLC §§ 226, 1174(d), and
4
      1174.5, as well as Section 7 of Wage Order 8), and seventh
5
      (failure to pay wages due at termination, a claim founded upon
6
      CLC §§ 201, 202, and 203) causes of action in the Gonzalez
7

8     complaint.    Id. at 35-39.

9          As to the applicability of Exclusion 7, CDI‟s argument was

10    rejected that RSUI should be estopped from asserting Exclusion 7
11    to deny coverage, because Exclusion 7 was not mentioned in the
12
      insurer‟s final denial of coverage letter.        To demonstrate
13
      estoppel:
14
                   “(1) [T]he party to be estopped must know the facts;
15                 (2) he must intend that his conduct shall be acted
                   upon, or must so act that the party asserting the
16                 estoppel had the right to believe that it was so
                   intended; (3) the party asserting the estoppel must be
17                 ignorant of the true state of facts; and, (4) he must
                   rely upon the conduct to his injury”. Spray, Gould &
18                 Bowers v. Assoc. Intern. Ins. Co., 71 Cal. App. 4th
                   1260, 1262 (1990). Application of estoppel in the
19                 insurance context typically arises from some
                   affirmative, misleading conduct on the part of the
20                 insurer. Spray, 71 Cal. App. 4th at 1268. Absent such
                   affirmative conduct, estoppel may arise from silence
21                 when the party has a duty to speak, such as where a
                   legal obligation requires disclosure. Id.
22
      Id. at 40.
23
           Although CDI alleged that RSUI violated California‟s Fair
24

25    Claims Practices Regulations by failing to articulate all bases

26    for denial of coverage in the final denial letter, id. at 40-42,
27    this did not establish estoppel, nor an affirmative claim.          It
28
                                          9
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1     only establishes RSUI‟s failure to disclose:
2                  To establish estoppel, CDI must also demonstrate that
                   it reasonably relied to its detriment on the assertions
3                  RSUI made in its final denial of coverage. The
                   Complaint contains no relevant allegations, and RSUI
4                  argues that CDI cannot allege reasonable detrimental
                   reliance because RSUI denied coverage from the outset
5                  on alternative grounds.
6     Id. at 42.
7
            CDI requested, and was granted, an opportunity to amend its
8
      complaint, to “consistent with Federal Rule of Civil Procedure
9
      11, allege the remaining elements of estoppel.”         Id.   However, at
10
      oral argument CDI‟s counsel acknowledged it was not pursuing an
11

12    estoppel theory.

13          A footnote also addressed CDI‟s alternative argument that

14    RSUI‟s failure to assert Exclusion 7 in its final denial of
15    coverage decision constitutes a waiver of its rights to do so in
16
      this litigation:
17
                   To demonstrate waiver, the insured bears the burden of
18                 proof to demonstrate that the carrier intentionally
                   relinquished a right or that the carrier‟s acts are so
19                 inconsistent with an intent to enforce the right as to
                   induce a reasonable belief that such right has been
20
                   relinquished. Waller v. Truck Insurance Exchange,
21                 Inc., 11 Cal.4th 1, 33-34 (1995). The Waller Court
                   held:
22
                        holding that an insurer waives defenses not
23                      asserted in its initial denial of a duty to defend
                        would be inconsistent with established waiver
24                      principles by erroneously implying an intent to
                        relinquish contract rights where no such intent
25                      existed. Such a conclusion would contradict the
                        holdings of the majority of California and sister-
26                      state cases addressing the waiver issue.

27                 Id. at 33.  CDI fails to explain how its waiver theory
                   can be reconciled with the holding in Waller.
28
                                          10
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1     Id. at 42-43 n.3.     Additionally, anti-waiver language is included
2     in the original letter.      Doc. 26-2, Ex. B, at 3.
3
            In the absence of estoppel or waiver, the district court
4
      rejected CDI‟s argument that the allegations in the Gonzalez
5
      complaint concerning denial of mandated meal periods, rest
6
      periods, reimbursement for employee uniforms, and wages due at
7

8     termination, involve “Employment Practices Wrongful Acts” because

9     they “reflect employment misrepresentations to employees that

10    Plaintiff would comply with the law regarding such benefits,”
11    and/or “involve a failure to enforce adequate or consistent
12
      organizational polices relating to employment.”         Id. at 45.
13
                  CDI‟s assertion that the CLC violations alleged in the
14                Gonzalez complaint should be viewed as “employment-
                  related misrepresentations” is a strained
15                interpretation of the Policy language in light of the
                  facts presented. The Gonzalez action is limited to
16                allegations based upon the failure to pay wages and
                  related benefits. The Gonzalez complaint does not
17                allege any misrepresentations by CDI, nor is
                  misrepresentation a required element of any of the
18                Gonzalez causes of action, all of which relate to wage
                  and hour conditions of employment.
19
                  The same conclusion applies to CDI‟s argument that the
20                Gonzalez allegations involve failures “to enforce
                  adequate or consistent organization[al] polices
21                relating to employment.” The underlying complaint does
                  not mention or concern internal organizational policies
22                at CDI. CDI‟s interpretation of this language in the
                  exception to Exclusion 7 is without limitation, as the
23                Exclusion 7 exception would be triggered for any claims
                  brought by employees against CDI, because any allegedly
24                wrongful act by an employer vis-a-vis an employee could
                  be the subject of an internal organizational policy.
25                This is not what the Policy intended, or it would have
                  included a blanket exception from Exclusion 7 for
26                claims brought by Employees against an Insured.

27                The Gonzalez Complaint contains no allegations related
                  to any misrepresentations, failures to provide and/or
28                enforce company rules, negligence, or civil rights
                                        11
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1                 violations. The exception for “Employment Practices
                  Wrongful Acts” provided under Exclusion 7 does not here
2                 apply. Accordingly, Exclusion 7 bars coverage for all
                  of the CLC claims in the Gonzalez lawsuit, as they are
3                 between Insureds and do not qualify as “Employment
                  Practices Wrongful Acts.”
4
      Id. at 45-46.    Application of Exclusion 7 eliminated all of
5
      Plaintiff‟s CLC claims.      RSUI‟s motion to dismiss based on the
6

7     application of Exclusion 7 was granted with leave to amend.

8           Finally, the eighth cause of action in Gonzalez, which

9     alleges that CDI violated the Unfair Competition Law (“UCL”) as a
10    result of the failure to comply with various provisions of the
11
      CLC, was dismissed with leave to amend.        Id. at 47-48.     Because
12
      the UCL “borrows” violations from other laws by making them
13
      independently actionable as unfair competitive practices, Korea
14
      Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1144
15

16    (2003), any “Loss” under the UCL would “necessarily result from

17    any underlying CLC violations.”       As RSUI was absolved of the

18    responsibility to provide coverage for the other causes of action
19    in the Gonzalez lawsuit, no UCL claim could exist.         Id.
20
21    F.    August 11, 2009 Dismissal With Leave to Amend.

22          Plaintiffs filed the FAC on April 9, 2009.        In response to

23    Defendants‟ motion to dismiss the FAC, Plaintiff‟s counsel
24    conceded that no estoppel-related allegations are contained in
25
      the FAC.    Doc. 36 at 12.
26
            As to implied waiver, the FAC contained new allegations that
27
      Defendant impliedly waived its right to rely on Exclusion 7.          The
28
                                          12
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1     district court articulated the relevant standard:
2                 To demonstrate waiver, the insured bears the burden of
                  proof to demonstrate that the carrier intentionally
3
                  relinquished a right or that the carrier‟s acts are so
4                 inconsistent with an intent to enforce the right as to
                  induce a reasonable belief that such right has been
5                 relinquished. Waller v. Truck Insurance Exchange,
                  Inc., 11 Cal. 4th 1, 33-34 (1995)[:]
6
                       holding that an insurer waives defenses not
7                      asserted in its initial denial of a duty to defend
                       would be inconsistent with established waiver
8                      principles by erroneously implying an intent to
                       relinquish contract rights where no such intent
9                      existed. Such a conclusion would contradict the
                       holdings of the majority of California and sister-
10                     state cases addressing the waiver issue.
11                Id. at 33.
12    Id. at 12-13.
13          The district court rejected CDI‟s argument that an implied
14
      waiver could arise by virtue of Defendants‟ alleged violation of
15
      California‟s Fair Claim Practices Regulations (“CFCPRs”), which,
16
      among other things requires insurers to provide written
17

18    explanations of the bases for denying claims, but do not create

19    enforceable claims for damages.       Id. at 13-16.

20          However, CDI also argued that the FAC satisfies the Waller
21    implied waiver standard, which requires conduct “so inconsistent
22
      with an intent to enforce the right as to induce a reasonable
23
      belief that such right has been relinquished.”
24
            The FAC alleges:
25
                  18. At the time RSUI made its final decision to deny
26
                  coverage it was aware that, with respect to the
27                handling and adjustment of claims in the state of
                  California, it was obligated to comply with the
28                mandatory provisions of the California Fair Claim
                                        13
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1                 Practices and Settlement Act, 10 C.C.R. §2695.1, et
                  seq.
2
                  19. Upon information and belief, CALIFORNIA DAIRIES
3
                  alleges that at the time RSUI made its final decision
4                 to deny coverage, it was aware that the California Fair
                  Claims and Settlement Practices Regulations,
5                 specifically 10 C.C.R. §2695.7(b)(1) required RSUI to
                  set forth in writing to CALIFORNIA DAIRIES a statement
6                 listing all bases for such denial, which would include
                  reference to any and all potentially applicable
7                 coverage provisions of its policy.
8
                  20. Upon information and belief, CALIFORNIA DAIRIES
9                 alleges that at the time RSUI made its final decision
                  to deny coverage, it was aware that under 10 C.C.R.
10                §2695.6(b), it was required to provide thorough and
                  adequate training regarding the California Fair Claims
11                and Settlement Practices Regulations to its agents
                  involved with the handling and adjustment of claims so
12                that they would be fully and completely familiar with
                  all provisions of the regulations.
13
                  21. Upon information and belief, CALIFORNIA DAIRIES
14                alleges that because of the mandatory provisions
                  provided by the California Fair Claims and Settlement
15                Practices Regulations, RSUI trained its representatives
                  involved with the handling and adjusting of claims,
16                that the failure to set forth specifically all coverage
                  provisions potentially applicable as a basis for
17                denying coverage, in the written denial letter mandated
                  by the California Insurance Regulations, would and
18                could constitute a waiver of RSUI‟s right to
                  subsequently assert additional coverage provisions as a
19                basis to deny coverage.

20                22. Upon information and belief, CALIFORNIA DAIRIES
                  alleges that based on the mandatory provisions of the
21                California Insurance Regulations, RSUI trained its
                  representatives involved with the handling and
22                adjustment of insurance claims, that it would be
                  inconsistent with RSUI‟s understanding of the
23                regulations and RSUI‟s rights, for RSUI to attempt to
                  assert a denial of coverage on a basis which RSUI knew
24                or should have known at the time it issued its final
                  written denial letter, but which RSUI failed to assert
25                or identify at the time it issued its final written
                  denial letter.
26
            Assuming the truth of these allegations, as is required on a
27
      motion to dismiss, the August 11, 2009 Decision reasoned:
28
                                          14
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1                 [I]f RSUI trained its representatives that failure to
                  include all potentially applicable coverage provisions
2                 in a denial letter could constitute a waiver of RSUI‟s
                  right to subsequently assert any omitted bases for
3                 denying coverage, RSUI‟s failure to include Exclusion 7
                  in the final denial letter arguably constitutes conduct
4                 “so inconsistent with an intent to enforce” Exclusion 7
                  so as to “induce a reasonable belief that such right
5                 has been relinquished.”

6     Id. at 17-18.
7           RSUI argued that CDI could not have reasonably believed that
8
      RSUI intended to relinquish its right to assert Exclusion 7
9
      because the denial letter specifically states that “nothing in
10
      this letter nor any action taken by us in connection with this
11
      matter should be construed as an admission of coverage or waiver
12

13    of any right RSUI might have at law or under the policy.”            See

14    Doc. 26-2, Ex. B, at 3.

15          The district court rejected RSUI‟s argument, concluding that
16    the existence of conduct “so inconsistent with an intent to
17
      enforce the right as to induce a reasonable belief that such
18
      right has been relinquished,” presented a question of fact to be
19
      determined by the jury:
20
                  “Whether there has been a waiver is usually regarded as
21                a question of fact to be determined by the jury....”
                  Old Republic Ins. Co v. FSR Brokerage, Inc., 80 Cal.
22                App. 4th 666, 679 (2000). In deciding whether to grant
                  a motion to dismiss, the court “accept [s] all factual
23                allegations of the complaint as true and draw[s] all
                  reasonable inferences” in the light most favorable to
24                the nonmoving party. TwoRivers, 174 F.3d at 991. RSUI
                  is correct that a court is not “required to accept as
25                true allegations that are merely conclusory,
                  unwarranted deductions of fact, or unreasonable
26                inferences.” See Sprewell v. Golden State Warriors,
                  266 F.3d 979, 988 (9th Cir. 2001). Here, however, it
27                is not unreasonable to infer from the allegations of
                  the FAC that a waiver occurred. Although the
28
                                          15
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1                  allegations are not particularly robust, as they are on
                   information and belief, the complaint “contain[s]
2                  sufficient factual matter, accepted as true, to „state
                   a claim to relief that is plausible on its face.‟”
3                  Iqbal, 129 S. Ct. at 1949.
4     Id. at 18.
5
      G.    April 16, 2010 Denial of Defendant‟s Motion for Judgment on
6           the Pleadings.

7           Defendant moved for judgment on the pleadings, arguing that,
8     as a matter of law, a waiver theory cannot create coverage “where
9
      none exists.”    Doc. 40 at 3.    After carefully reviewing the
10
      arguably conflicting caselaw, the April 16, 2010 decision
11
      concluded that the controlling case is the California Supreme
12
      Court‟s decision in Waller v. Truck Insurance Exchange, Inc., 11
13

14    Cal. 4th 1 (1995):

15                 Waller concerned a commercial general liability (“CGL”)
                   policy that provided coverage for bodily injury or
16                 property damage caused by the insured‟s act or
                   omission. Id. at 11. A former executive sued the
17                 insured for, among other things, economic losses and
                   emotional distress stemming from a demotion. See id.
18                 at 11-12. The insured tendered the lawsuit to Truck
                   Insurance Exchange (“TIE”) under the CGL policy, but
19                 TIE denied coverage, asserting in its denial letter
                   that the lawsuit was “essentially a shareholder
20                 dispute” that involved uncovered “intentional acts.”
                   Id. at 31. The Appellate and Supreme Courts concluded
21                 that the executive‟s claims of emotional distress were
                   arguably covered by the bodily injury language in the
22                 CGL policy, but for the fact that such policies are
                   “not intended to cover economic losses.” Id. at 15.
23                 As the executive‟s claims of emotional distress “flowed
                   from” an underlying claim of economic loss, those
24                 claims were not covered either. Id. at 15-16.

25                 However, TIE‟s initial denial letter failed to
                   specifically explain that the policy did not cover
26                 “economic losses.” Accordingly, the insured asserted
                   that TIE waived its right to argue non-coverage for
27                 claims related to “economic loss.” The Waller court
                   defined the key inquiry as follows:
28
                                          16
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1                      In essence, we are asked to consider whether the
                       doctrine of waiver may be invoked to create
2                      coverage for losses that the CGL policy by its
                       terms did not cover.
3
                  Id. at 31.
4
                  Waller then reviewed the general rules on the subject
5                 of waiver:

6                      Case law is clear that waiver is the intentional
                       relinquishment of a known right after knowledge of
7                      the facts. The burden is on the party claiming a
8                      waiver of a right to prove it by clear and
                       convincing evidence that does not leave the matter
9                      to speculation, and doubtful cases will be decided
                       against a waiver. Waiver always rests upon
10                     intent. The waiver may be either express, based
                       on the words of the waiving party, or implied,
11                     based on conduct indicating an intent to
                       relinquish the right.
12

13                     ...California courts have applied the general rule
                       that waiver requires the insurer to intentionally
14                     relinquish its right to deny coverage and that a
                       denial of coverage on one ground does not, absent
15                     clear and convincing evidence to suggest
                       otherwise, impliedly waive grounds not stated in
16
                       the denial.
17
                  Id. at 31-32 (internal citations and quotations
18                omitted; emphasis added).

19                Guided by the general rule that “a denial of coverage
                  on one ground does not, absent clear and convincing
20                evidence to suggest otherwise, impliedly waive grounds
21                not stated in the denial,” Waller rejected the
                  insured‟s reliance on dictum from McLaughlin v.
22                Connecticut General Life Ins. Co., 565 F. Supp. 434,
                  451 (N.D. Cal. 1983), that suggested “an insurance
23                company which relies on specified grounds for denying a
                  claim” automatically waives “the right to rely in a
24                subsequent litigation on any other grounds which a
25                reasonable investigation would have uncovered.”
                  Instead, Waller followed Intel Corp. v. Hartford Acc. &
26                Indem. Co., 952 F.2d 1551, 1559 (9th Cir. 1991), which
                  rejected application of an automatic waiver rule and
27                determined that under California law, an insurer waives
                  defenses to coverage not asserted in its denial only if
28
                                          17
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1                 the insured can show misconduct by the insurer or
                  detrimental reliance by the insured:
2
                       T.I.E. and Farmers assert McLaughlin [] has been
3
                       superseded by the Ninth Circuit decision in Intel
4                      [] which concluded that “in McLaughlin it was
                       necessary to find waiver to protect insureds who
5                      had been misled by the insurer's statements as to
                       the denial of coverage.” (Intel, supra, 952 F.2d
6                      at p. 1560.) Nonetheless, the Intel court rejected
                       application of an automatic waiver rule and
7                      determined that under California law, an insurer
8                      waives defenses to coverage not asserted in its
                       denial only if the insured can show misconduct by
9                      the insurer or detrimental reliance by the
                       insured. (Ibid.)....
10
                       We agree with Intel, supra, 952 F.2d at page 1559,
11                     and decline to follow the McLaughlin rule of
12                     automatic waiver. A holding that an insurer waives
                       defenses not asserted in its initial denial of a
13                     duty to defend would be inconsistent with
                       established waiver principles by erroneously
14                     implying an intent to relinquish contract rights
                       where no such intent existed. Such a conclusion
15                     would contradict the holdings of the majority of
                       California and sister-state cases addressing the
16
                       waiver issue. (See, e.g., Velasquez v. Truck Ins.
17                     Exchange, supra, 1 Cal.App.4th 712, 722.)

18                     As the Intel court recognized, in the insurance
                       context the terms “waiver” and “estoppel” are
19                     sometimes used interchangeably, even though
                       estoppel requires proof of the insured's
20
                       detrimental reliance. (Intel, supra, 952 F.2d at
21                     p.1560.) Nonetheless, as the Intel court observed,
                       “[w]aiver is an affirmative defense, for which the
22                     insured bears the burden of proof,” and
                       “California courts will find waiver when a party
23                     intentionally relinquishes a right or when that
                       party's acts are so inconsistent with an intent to
24                     enforce the right as to induce a reasonable belief
25                     that such right has been relinquished.” (Id. at p.
                       1559.)
26
                  Id. at 33-34. Applying this standard from Intel,
27                Waller found that TIE‟s denial letter did not show any
                  intent to relinquish the right to assert the “economic
28
                                          18
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1                 loss” rationale:
2                      The present facts do not show that T.I.E.'s denial
                       letter indicated an intention on the part of the
3
                       insurer to relinquish additional reasons for
4                      denial of a duty to defend. Nor have plaintiffs
                       shown that T.I.E.'s actions following its defense
5                      denial were inconsistent with its intent to
                       enforce the terms of the policy. Accordingly,
6                      plaintiffs have not shown that T.I.E.'s denial of
                       a defense induced a reasonable belief in
7                      plaintiffs that T.I.E. intended to waive
8                      additional policy defenses.

9                 Id. at 34.

10                R & B, the only case cited by CDI that post-dates
                  Waller, does not explicitly apply Waller‟s generic rule
11                that courts should “find waiver when a party
12                intentionally relinquishes a right or when that party's
                  acts are so inconsistent with an intent to enforce the
13                right as to induce a reasonable belief that such right
                  has been relinquished.” Rather R&B relied on the 1994
14                appellate court decision in Mannek for the proposition
                  that implied waiver cannot, as a matter of law, ever be
15                used to “bring within the coverage of a policy ...
                  risks expressly excluded therefrom....” 140 Cal. App.
16
                  4th at 352 (citing Manneck, 28 Cal. App. 4th at 1303).
17
                  This use of Manneck is arguably in conflict with
18                Waller, a 1995 decision of the California Supreme
                  Court. Waller, a case about the application of waiver
19                to an exclusionary provision, expressly permitted
                  waiver to operate under certain circumstances. 11 Cal.
20
                  4th at 34. Although Waller concluded on summary
21                judgment that waiver was not established under the
                  particular circumstances of that case, it suggests that
22                whether waiver applies to an exclusionary provision is
                  a question of fact that cannot be decided on the
23                pleadings.
24    Doc. 59 at 21-26 (footnote omitted).
25
            Waller indicates that waiver may be established in one of
26
      two circumstances: (1) when the insurer commits misconduct; or
27
      (2) when the insurer‟s acts are “so inconsistent with an intent
28
                                          19
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1     to enforce the right as to induce a reasonable belief that such
2     right has been relinquished.” 11 Cal. 4th at 33-34.
3
            RSUI also argued that CDI failed to allege any facts that
4
      could support a finding that RSUI‟s failure to assert Exclusion 7
5
      would induce a reasonable belief that RSUI intended to relinquish
6
      the right to assert that Exclusion, because RSUI expressly
7

8     reserved all rights under the policy.       This argument was

9     rejected:

10                The [FAC] alleges: (1) that RSUI had an internal policy
                  that the failure to set forth specifically all
11                potentially applicable policy provisions that could
12                form a basis for denying coverage would and could
                  constitute a waiver of RSUI‟s right to subsequently
13                assert such policy provisions as a basis for denying
                  coverage; and (2) it would be inconsistent with RSUI‟s
14                understanding of the applicable regulations and RSUI‟s
                  rights for RSUI to attempt to assert an exclusion as a
15                basis for denying coverage if RSUI knew of, but failed
                  to assert, that exclusion at the time it issued its
16
                  final written denial letter. FAC ¶¶ 18-22.
17
                  RSUI rejoins that these allegations do not establish
18                that a reasonable person would be induced to believe
                  RSUI intended to relinquish its right to assert
19                Exclusion 7. The August 11, 2009 Decision explained
                  that the insured‟s intent with respect to waiver is
20
                  normally a question of fact to be determined by the
21                jury:

22                     “Whether there has been a waiver is usually
                       regarded as a question of fact to be determined by
23                     the jury....” Old Republic Ins. Co v. FSR
                       Brokerage, Inc., 80 Cal. App. 4th 666, 679 (2000).
24                     In deciding whether to grant a motion to dismiss,
                       the court “accept [s] all factual allegations of
25                     the complaint as true and draw[s] all reasonable
                       inferences” in the light most favorable to the
26                     nonmoving party. TwoRivers, 174 F.3d at 991.
                       RSUI is correct that a court is not “required to
27                     accept as true allegations that are merely
                       conclusory, unwarranted deductions of fact, or
28                     unreasonable inferences.” See Sprewell v. Golden
                                        20
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1                       State Warriors, 266 F.3d 979, 988 (9th Cir. 2001).
                        Here, however, it is not unreasonable to infer
2                       from the allegations of the FAC that a waiver
                        occurred. Although the allegations are not
3                       particularly robust, as they are on information
                        and belief, the complaint “contain[s] sufficient
4                       factual matter, accepted as true, to „state a
                        claim to relief that is plausible on its face.‟”
5                       Iqbal, 129 S. Ct. at 1949.
6                 Doc. 36 at 18.

7                 RSUI suggests that its inclusion of “strongly worded
                  anti-waiver language in its first letter....necessarily
8                 and absolutely preclude[s] a reasonable person from
                  believing that RSUI intended to relinquish its rights
9                 to assert Exclusion 7 inasmuch as the use of such
                  language would have contradicted the internal policies
10                that CDI alleges existed.” Doc. 49 at 6. RSUI‟s
                  argument continues:
11
                        [T]he use of anti-waiver language in the first
12                      denial letter would necessarily contradict [the]
                        purported internal policy that the failure to
13                      raise a specific ground for denial of coverage
14                      could result in waiver since RSUI specifically
                        invoked its right to raise additional grounds for
15                      coverage.”

16                Id.
17                RSUI cites Waller, 11 Cal. 4th 1, and Westoil
18
                  Terminals, Inc. v. Industrial Indemnity Co., 110 Cal.
                  App. 4th 139 (2003), for the proposition that “the use
19                of anti-waiver language necessarily precludes the
                  finding of implied waiver.” Doc. 49. at 7. Waller‟s
20                discussion of waiver actually contains language that
                  suggests exactly the opposite:
21
                        We address this issue, notwithstanding the
22
                        antiwaiver clause in T.I.E.'s policy. That clause
23                      states the insurer does not waive rights or terms
                        under the policy in the absence of an endorsement
24                      and focuses on the terms and conditions of the
                        policy itself, rather than on the insurer's claims
25                      practices. In sum, the clause does not affect the
                        insured's right to assert waiver of defenses in a
26                      denial letter.
27
                  11 Cal. 4th at 31.
28
                                          21
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1                 Although Westoil does conclude that the insurer‟s
                  reservation of rights “evidence[d] its intent not to
2                 waive any defense....,” it did so in the context of an
                  examination of all the evidence in the case. 110 Cal.
3
                  App. 4th at 151. Only after finding that no other
4                 evidence in the appellate record supported a finding of
                  waiver did Westoil conclude waiver did not apply.
5                 Contrary to RSUI‟s contention, the use of anti-waiver
                  language was not dispositive. RSUI‟s intent is a
6                 question of fact that cannot be resolved on the present
                  record.
7

8     Doc. 59 at 26-30.

9
                            III. STANDARD OF DECISION
10
            Summary judgment is appropriate when “the pleadings, the
11
      discovery and disclosure materials on file, and any affidavits
12
      show that there is no genuine issue as to any material fact and
13

14    that the movant is entitled to judgment as a matter of law.”

15    Fed. R. Civ. P. 56(c).     A party moving for summary judgment

16    “always bears the initial responsibility of informing the
17    district court of the basis for its motion, and identifying those
18
      portions of the pleadings, depositions, answers to
19
      interrogatories, and admissions on file, together with the
20
      affidavits, if any, which it believes demonstrate the absence of
21

22    a genuine issue of material fact.”       Celotex Corp. v. Catrett, 477

23    U.S. 317, 323 (1986) (internal quotation marks omitted).

24          Where the movant has the burden of proof on an issue at
25    trial, it must “affirmatively demonstrate that no reasonable
26
      trier of fact could find other than for the moving party.”
27
      Soremekun v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir.
28
                                          22
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1     2007); see also S. Cal. Gas Co. v. City of Santa Ana, 336 F.3d
2     885, 888 (9th Cir. 2003) (noting that a party moving for summary
3
      judgment on claim on which it has the burden at trial “must
4
      establish beyond controversy every essential element” of the
5
      claim) (internal quotation marks omitted).        With respect to an
6
      issue as to which the non-moving party has the burden of proof,
7

8     the movant “can prevail merely by pointing out that there is an

9     absence of evidence to support the nonmoving party‟s case.”

10    Soremekun, 509 F.3d at 984.
11          When a motion for summary judgment is properly made and
12
      supported, the non-movant cannot defeat the motion by resting
13
      upon the allegations or denials of its own pleading, rather the
14
      “non-moving party must set forth, by affidavit or as otherwise
15
      provided in Rule 56, „specific facts showing that there is a
16

17    genuine issue for trial.‟”      Id. (quoting Anderson v. Liberty

18    Lobby, Inc., 477 U.S. 242, 250 (1986)). “Conclusory, speculative
19    testimony in affidavits and moving papers is insufficient to
20
      raise genuine issues of fact and defeat summary judgment.”           Id.
21
            To defeat a motion for summary judgment, the non-moving
22
      party must show there exists a genuine dispute (or issue) of
23
      material fact.    A fact is “material” if it “might affect the
24

25    outcome of the suit under the governing law.”         Anderson, 477 U.S.

26    at 248.   “[S]ummary judgment will not lie if [a] dispute about a

27    material fact is „genuine,‟ that is, if the evidence is such that
28
                                          23
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1     a reasonable jury could return a verdict for the nonmoving
2     party.”     Id. at 248.    In ruling on a motion for summary judgment,
3
      the district court does not make credibility determinations;
4
      rather, the “evidence of the non-movant is to be believed, and
5
      all justifiable inferences are to be drawn in his favor.”            Id. at
6
      255.
7

8
                                     IV. DISCUSSION
9
      A.     Waiver.
10
             Defendant RSUI argues that the undisputed evidence cannot
11
      support Plaintiff‟s allegation that RSUI waived its right to
12
      assert Exclusion 7 as a basis for denying coverage.         Waller
13
      confirmed the validity of earlier cases finding waiver when the
14

15    insured can show misconduct by the insurer or detrimental

16    reliance by the insured.       11 Cal. 4th at 33-34.    Specifically,

17    Waller explained that waiver may be found when insurer‟s acts are
18    “so inconsistent with an intent to enforce the right as to induce
19
      a reasonable belief that such right has been relinquished.”            Id.
20
      at 33-34.
21

22           1.    Misconduct.
23           Plaintiff asserts that RSUI‟s conduct amounts to misconduct
24
      that should result in a finding that RSUI waived the right to
25
      assert Exclusion 7.        The entirety of Plaintiff‟s misconduct
26
      theory is set forth as follows in its opposition brief:
27

28
                                           24
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1                 Contrary to RSUI‟s claims, it did engage in misconduct
                  when it attempted to assert new coverage provisions
2                 which had not been asserted in RSUI‟s previous denial
                  letters. This is especially true after RSUI had been
3                 given the opportunity to reconsider the matter but yet
                  still denied coverage without asserting Exclusion 7.
4
                  From its own investigation, RSUI knew the underlying
5                 claims were being asserted by current or former
                  California Dairies employees, and thus RSUI knew or
6                 should have known that Exclusion 7 was implicated.
                  RSUI also knew, that to be fair and to be in compliance
7                 with the minimum standards mandated by the California
                  Fair Claim Practices Regulations, it was required to
8                 assert all potentially applicable policy provisions in
                  the denial letters sent to California Dairies.
9
                  RSUI‟s failure to assert Exclusion 7 in its prior
10                denial letters, was not only inherently unfair, it was
                  a clear violation of the very regulations which were
11                adopted for the express purpose of setting forth
                  minimum standards for the fair handling of claims.
12                Such disregard of the California Fair Claim Practices
                  Regulations is evidence a jury could consider in
13                determining that RSUI breached the implied covenant of
                  good faith and fair dealing. Jordan v. Allstate Ins.
14                Co., 148 Cal.App.4th 1062, 1076-1078 (2007); Rattan v.
                  United Services auto Assoc, 84 Cal.App.4th 715, 723
15                (2000); Shade Foods, Inc. v. Innovative Products Sales
                  & Marketing Inc., 78 Cal.App.4th 847, 916 (2000).
16
                  RSUI‟s contention that it engaged in no misconduct is
17                illustrative of its complete disregard of the
                  obligations it owed to California policyholders. In
18                fact, the declarations submitted in support of RSUI‟s
                  motion, swearing that the claims personnel have never
19                been trained that the California Fair Claim Practices
                  Regulations required denials such as the ones sent to
20                California Dairies, to be in writing and to include an
                  explanation of all material facts and policy
21                provisions, evidences the type of “knowingly committed”
                  wrongful conduct to establish a pattern of wrongful
22                conduct under the California Fair Claim Practices
                  Regulations. 10 C.C.R. Section 2695.1 (a) (1) & 2695.2
23                (1).

24    Doc. 66 at 6.    Essentially, CDI argues that RSUI‟s assertion of
25    Exclusion 7 in this lawsuit, despite its failure to advance
26
      Exclusion 7 in its initial denial letter, constituted misconduct
27
      because it was “inherently unfair” and not in compliance with the
28
                                          25
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1     CFCPRs.    CDI further suggests that RSUI had a statutory duty to
2     train its employees in fair claims handling practices and
3
      intentionally did not do so to provide it a basis to avoid waiver
4
      and to avoid having to notify its insured of all bases for denial
5
      of coverage.
6
            This is not the type of “misconduct” contemplated by Waller.
7

8     Waller explicitly rejected the argument that failure to advance a

9     basis for denying coverage automatically waived any right to

10    advance that basis in the future.        Instead, Waller demanded
11    specific evidence that party against whom waiver is asserted
12
      “intentionally relinquishe[d] a right” or acted “so
13
      inconsistent[ly] with an intent to enforce the right as to induce
14
      a reasonable belief that such right ha[d] been relinquished.”         11
15
      Cal. 4th at 33.     Plaintiff‟s argument that RSUI committed
16

17    misconduct because it failing to advance all relevant exclusions

18    in its initial denial letter is, in effect, a request to re-
19    instate the automatic waiver rule rejected by Waller.
20
      Plaintiff‟s misconduct argument is unsupported by the law or the
21
      record.
22

23          2.    Other Evidence of Waiver.
24          “California courts will find waiver when a party
25    intentionally relinquishes a right or when that party‟s acts are
26
      so inconsistent with an intent to enforce the right as to induce
27
      a reasonable belief that such right has been relinquished.”          Id.
28
                                          26
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1     Here, Plaintiff does not allege that RSUI intentionally
2     relinquished its right to assert Exclusion 7.         Rather, Plaintiff
3
      alleges that RSUI was aware that the CFCPRs required assertion of
4
      every basis for denying a claim in the first denial letter and
5
      conveyed this awareness to its employees through training:
6
                  18. At the time RSUI made its final decision to deny
7                 coverage it was aware that, with respect to the
8                 handling and adjustment of claims in the state of
                  California, it was obligated to comply with the
9                 mandatory provisions of the California Fair Claim
                  Practices and Settlement Act, 10 C.C.R. §2695.1, et
10                seq.
11                19. Upon information and belief, CALIFORNIA DAIRIES
12                alleges that at the time RSUI made its final decision
                  to deny coverage, it was aware that the California Fair
13                Claims and Settlement Practices Regulations,
                  specifically 10 C.C.R. §2695.7(b)(1) required RSUI to
14                set forth in writing to CALIFORNIA DAIRIES a statement
                  listing all bases for such denial, which would include
15                reference to any and all potentially applicable
                  coverage provisions of its policy.
16

17                20. Upon information and belief, CALIFORNIA DAIRIES
                  alleges that at the time RSUI made its final decision
18                to deny coverage, it was aware that under 10 C.C.R.
                  §2695.6(b), it was required to provide thorough and
19                adequate training regarding the California Fair Claims
                  and Settlement Practices Regulations to its agents
20
                  involved with the handling and adjustment of claims so
21                that they would be fully and completely familiar with
                  all provisions of the regulations.
22
                  21. Upon information and belief, CALIFORNIA DAIRIES
23                alleges that because of the mandatory provisions
                  provided by the California Fair Claims and Settlement
24                Practices Regulations, RSUI trained its representatives
25                involved with the handling and adjusting of claims,
                  that the failure to set forth specifically all coverage
26                provisions potentially applicable as a basis for
                  denying coverage, in the written denial letter mandated
27                by the California Insurance Regulations, would and
                  could constitute a waiver of RSUI‟s right to
28
                                          27
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1                 subsequently assert additional coverage provisions as a
                  basis to deny coverage.
2
                  22. Upon information and belief, CALIFORNIA DAIRIES
3
                  alleges that based on the mandatory provisions of the
4                 California Insurance Regulations, RSUI trained its
                  representatives involved with the handling and
5                 adjustment of insurance claims, that it would be
                  inconsistent with RSUI‟s understanding of the
6                 regulations and RSUI‟s rights, for RSUI to attempt to
                  assert a denial of coverage on a basis which RSUI knew
7                 or should have known at the time it issued its final
8                 written denial letter, but which RSUI failed to assert
                  or identify at the time it issued its final written
9                 denial letter.

10                23. At the time RSUI issued its final denial letter it
                  expressly stated that its decision to deny coverage was
11                based solely on exclusion 4 of THE POLICY. At no time
12                prior to the filing of this lawsuit, did RSUI ever make
                  any reference to exclusion 7 of THE POLICY as a basis
13                for RSUI to deny coverage.

14                24. At the time RSUI issued its final denial letter,
                  it knew that the claims which were the basis of THE
15                UNDERLYING ACTION were asserted by plaintiffs who were
                  insureds under THE POLICY, against RSUI, who was also
16
                  an insured under the RSUI policy.
17
      FAC, Doc. 25.
18
            These allegations were the subject of discussion in the
19
      August 11, 2009 Decision:
20
21                [I]f RSUI trained its representatives that failure to
                  include all potentially applicable coverage provisions
22                in a denial letter could constitute a waiver of RSUI‟s
                  right to subsequently assert any omitted bases for
23                denying coverage, RSUI‟s failure to include Exclusion 7
                  in the final denial letter arguably constitutes conduct
24                “so inconsistent with an intent to enforce” Exclusion 7
                  so as to “induce a reasonable belief that such right
25                has been relinquished.”

26    Doc. 36 at 17-18.

27          RSUI argued that CDI could not have reasonably believed that

28
                                          28
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1     RSUI intended to relinquish its right to assert Exclusion 7
2     because the denial letter contains express anti-waiver language,
3
      specifically stating that “nothing in this letter nor any action
4
      taken by us in connection with this matter should be construed as
5
      an admission of coverage or waiver of any right RSUI might have
6
      at law or under the policy.”      See Doc. 26-2, Ex. B, at 3.
7

8           The August 11, 2009 decision rejected RSUI‟s argument,

9     concluding that the existence of conduct “so inconsistent with an

10    intent to enforce the right as to induce a reasonable belief that
11    such right has been relinquished,” presented a question of fact:
12
                  “Whether there has been a waiver is usually regarded as
13                a question of fact to be determined by the jury....”
                  Old Republic Ins. Co v. FSR Brokerage, Inc., 80 Cal.
14                App. 4th 666, 679 (2000). In deciding whether to grant
                  a motion to dismiss, the court “accept [s] all factual
15                allegations of the complaint as true and draw[s] all
                  reasonable inferences” in the light most favorable to
16                the nonmoving party. TwoRivers, 174 F.3d at 991. RSUI
                  is correct that a court is not “required to accept as
17                true allegations that are merely conclusory,
                  unwarranted deductions of fact, or unreasonable
18                inferences.” See Sprewell v. Golden State Warriors,
                  266 F.3d 979, 988 (9th Cir. 2001). Here, however, it
19                is not unreasonable to infer from the allegations of
                  the FAC that a waiver occurred. Although the
20                allegations are not particularly robust, as they are on
                  information and belief, the complaint “contain[s]
21                sufficient factual matter, accepted as true, to „state
                  a claim to relief that is plausible on its face.‟”
22                Iqbal, 129 S. Ct. at 1949.

23    Doc. 36 at 18.

24          The issue is now before the court on RSUI‟s motion for

25    summary judgment.     The undisputed evidence reveals no support for
26    CDI‟s factual assertions regarding RSUI‟s awareness of the
27
      regulatory consequences of omitting from the initial denial of
28
                                          29
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1     coverage a basis for doing so, nor does it reveal any evidence
2     that RSUI employees received training about any such consequences
3
      and/or to “set up” a non-waiver by failure to train employees
4
      they lacked knowledge of the requirements of describing all
5
      grounds of denial of coverage.
6
            Mr. Krajec and his immediate supervisor, Mr. Paul Rowe, both
7

8     declare that RSUI did not have a policy to train its claim

9     handlers that the failure to set forth specifically all coverage

10    provisions potentially applicable as a basis for denying coverage
11    in the written denial letter mandated by the CDCPRs would
12
      constitute a waiver of RSUI‟s right to subsequently assert
13
      additional coverage provisions.       DSUF #20.   This addresses only
14
      part of RSUI‟s allegation, because the intentional absence of
15
      knowledge to prevent a knowing waiver would be the type of
16

17    conduct from which the insurer should not profit.

18          CDI cites portions of Mr. Rowe‟s and Mr. Krajec‟s
19    depositions to support the proposition that RSUI “was aware that
20
      the failure to set forth all policy provisions in its denial
21
      letters, when it knew or should have known they [were] applicable
22
      to preclude coverage, would be inconsistent with its training and
23
      what it understood was required [by] RSUI to properly and fairly
24

25    handle claims submitted by its policyholders.”         PSUF #8.      The

26    deposition testimony cited by CDI only states that Mr. Rowe and

27    Mr. Krajec endeavor to treat insureds fairly and attempt to be
28
                                          30
     Case 1:08-cv-00790-OWW-GSA Document 76 Filed 06/25/10 Page 31 of 33


1     thorough when issuing disclaimers of coverage.         See Rowe Depo.
2     25:16-26.23, 28:9-30:24, 31:2-32:9; Krajec Depo. 15:4-16:7,
3
      39:14-41:9, 46:23-47:19, 49:8-21, 50:11-52:1, 57:3-23.
4
      At no time did Mr. Krajec or Mr. Rowe ever state that the failure
5
      to cite to a specific provision would be inconsistent with any
6
      training they received from RSUI.        Mr. Krajec did state that it
7

8     would be inappropriate to conceal information from a

9     policyholder, see Krajec Depo, 50:11-52:1, but this does not

10    constitute an admission that failure to assert a ground for
11    denying coverage in the initial denial letter would amount to
12
      waiver of the right to assert that ground at a later time.
13
            Nor is it enough that Mr. Krajec, who is an attorney,
14
      testified that he is aware of the doctrine of waiver.          See Krajec
15
      Depo. 52:21-54:10l; Krajec Decl. ¶2.        This testimony does not
16

17    indicate that RSUI was either aware or trained its employees that

18    failing to assert a policy provision in the first denial could or
19    would result in waiver, nor does it even arguably demonstrate
20
      that RSUI deliberately failed to train their employees about the
21
      potential consequences of failing to assert policy provisions so
22
      as to avoid a knowing waiver.
23
            Both Mr. Rowe and Mr. Krajec declared that they believed the
24

25    Gonzalez lawsuit was a “third party claim” for purposes of the

26    CFCPRs.   (In contrast to “first party claims,” for which the

27    CFCPRs require denial letters to forth all potentially applicable
28
                                          31
     Case 1:08-cv-00790-OWW-GSA Document 76 Filed 06/25/10 Page 32 of 33


1     policy provisions, there is no such regulatory requirement for
2     third party claims.)     CDI argues that this assertion renders Mr.
3
      Rowe‟s and Mr. Krajec‟s testimony “inherently unbelievable,”
4
      because they admitted receiving yearly training on the CFCPRs.
5
      CDI overreaches.     The terms “first party claim” and “third party
6
      claim” are undefined in the regulation and their interpretation
7

8     and application are debatable and sometimes obscure.          That Mr.

9     Rowe and Mr. Krajec interpreted these terms differently from the

10    Court does not render their testimony “unbelievable.”
11          CDI presents no evidence that RSUI specifically trained its
12
      employees that failure to assert a basis for denying coverage in
13
      an initial denial letter might constitute waiver of the right to
14
      assert that basis in the future.         Nor has CDI presented any other
15
      evidence suggesting that RSUI acted “so inconsistent[ly] with an
16

17    intent to enforce [Exclusion 7] as to induce a reasonable belief

18    that such right has been relinquished.”         Because CDI‟s theory of
19    waiver is unsupported by any testimony or other record evidence,
20
      RSUI is entitled to summary judgment that Exclusion 7 bars
21
      coverage in this lawsuit.
22
            It is not necessary to address RSUI‟s alternative arguments
23
      regarding the application of Exclusions 5 and 6, which present
24

25    several questions of first impression regarding the

26    interpretation of Policy provisions under California law.

27    Exclusion 7 is effective and sufficient to bar coverage in this
28
                                          32
     Case 1:08-cv-00790-OWW-GSA Document 76 Filed 06/25/10 Page 33 of 33


1     case.
2
                                   V. CONCLUSION.
3
              For the reasons set forth above, Defendant‟s motion for
4

5     summary judgment is GRANTED as to all remaining claims in this

6     case.    Defendant shall submit a form of judgment consistent with

7     this memorandum decision within five (5) days following
8     electronic service.
9

10
      SO ORDERED
11    Dated: June 25, 2010
                                          /s/ Oliver W. Wanger
12                                           Oliver W. Wanger
                                        United States District Judge
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